22-50015 - #61 File 09/19/22 Enter 09/19/22 11:16:34 Main Document Pg 1 of 8
22-50015 - #61 File 09/19/22 Enter 09/19/22 11:16:34 Main Document Pg 2 of 8
22-50015 - #61 File 09/19/22 Enter 09/19/22 11:16:34 Main Document Pg 3 of 8
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